Case 2:13-cv-05861-JLS-AJW Document 42 Filed 01/23/17 Page 1 of 9 Page ID #:617




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Case 2:13-cv-05861-JLS-AJW Document 42 Filed 01/23/17 Page 2 of 9 Page ID #:618
Case 2:13-cv-05861-JLS-AJW Document 42 Filed 01/23/17 Page 3 of 9 Page ID #:619
Case 2:13-cv-05861-JLS-AJW Document 42 Filed 01/23/17 Page 4 of 9 Page ID #:620
Case 2:13-cv-05861-JLS-AJW Document 42 Filed 01/23/17 Page 5 of 9 Page ID #:621
Case 2:13-cv-05861-JLS-AJW Document 42 Filed 01/23/17 Page 6 of 9 Page ID #:622
Case 2:13-cv-05861-JLS-AJW Document 42 Filed 01/23/17 Page 7 of 9 Page ID #:623
Case 2:13-cv-05861-JLS-AJW Document 42 Filed 01/23/17 Page 8 of 9 Page ID #:624
Case 2:13-cv-05861-JLS-AJW Document 42 Filed 01/23/17 Page 9 of 9 Page ID #:625
